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                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                  Plaintiff,
     vs.                                 Case No. 11-40057-01/03-RDR

MARCOS FIDEL MOJICA-CRUZ
and JUAN ANGEL CRUZ,

                  Defendants.


                                  O R D E R

     This matter is presently before the court upon the motions of

defendants Mojica-Cruz and Cruz for an extension of time to file

pretrial motions. The defendants seek additional time to engage in

negotiations with the government so that this case can be resolved

prior to trial.    The defendants note that the government does not

object to these motions.        The defendants seek an extension of at

least thirty days to file their pretrial motions.                 This is the

defendants’ second request for a continuance in this case.

     The defendants and one other co-defendant are charged in a

two-count indictment with (1) conspiracy to possess with intent to

distribute 500 grams or more of a mixture or substance containing

a detectable amount of methamphetamine in violation of 21 U.S.C. §

846 and (2) distribution of 500 grams or more of a mixture or

substance containing a detectable amount of methamphetamine in

violation of 21 U.S.C. § 841(a)(1).           The defendants are in custody

pending trial.
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     Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7), the court

may exclude a period of delay from the time computed under the

Act’s deadlines for starting a trial if the court finds that the

ends of justice served by granting the continuance outweigh the

best interest of the public and the defendant in a speedy trial.

To make this determination, the court must consider the following

factors “among others:”        1) whether the failure to grant the

continuance would likely make the continuation of the proceeding

impossible or result in a miscarriage of justice; 2) whether the

case is unusual, complex or contains novel issues which require

additional time for preparation; 3) whether there was a delay in

filing the indictment which justifies a continuance; and 4) whether

the failure to grant a continuance would deny the defendant

reasonable time to obtain counsel, or deny either side continuity

of counsel or deny the attorney for the government or defendant the

reasonable time necessary for effective preparation, taking into

account the exercise of due diligence.

     After full consideration, the court finds that the denial of

the requested extension may deny counsel and defendant the time

necessary to adequately prepare and negotiate for a resolution of

this matter, taking into account the exercise of due diligence.

The court believes that the requested continuance is in the

interests of the public and the parties because it will facilitate

a fair, just and efficient resolution of this matter.


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     In sum, the court finds that the continuance requested is in

the interests of justice which outweigh the interests of the public

and the defendants in a speedy trial.          Therefore, the continuance

requested constitutes excludable time under 18 U.S.C. § 3161(h)(7).

     Defendants’ motions shall be granted and they shall be allowed

until December 17, 2011 in which to file pretrial motions.                   The

government shall be allowed until December 27, 2011 to file its

responses.      The hearing on all pretrial motions filed in this case

shall be held on January 10, 2012 at 9:30 a.m.

     IT IS THEREFORE ORDERED that defendant Mojica-Cruz’ motion for

extension of time to file pretrial motions (Doc. # 67) be hereby

granted.        He shall be allowed until December 17 to file any

motions, and the government shall be allowed until December 27,

2011 to file its      responses.     The hearing on all pretrial motions

filed in this case shall be held on January 10, 2012 at 9:30 a.m.

     IT    IS    FURTHER   ORDERED   that    defendant   Cruz’    motion     for

extension of time to file pretrial motions (Doc. # 68) be hereby

granted.        He shall be allowed until December 17 to file any

motions, and the government shall be allowed until December 27,

2011 to file its      responses.     The hearing on all pretrial motions

filed in this case shall be held on January 10, 2012 at 9:30 a.m.

     IT IS SO ORDERED.

     Dated this 22nd day of November, 2011 at Topeka, Kansas.

                                     s/Richard D. Rogers


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                             United States District Judge




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